              Case 3:21-cv-00259-DCG-JES-JVB           Document 962-12    Filed 05/07/25   Page 1 of 1




                                                      Exhibit 12
                         Designations of Deposition Testimony of Dan Huberty (June 30, 2022)


               Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line           End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                  Objections                                            Objections
        9:15                     9:17
       10:10                    10:18
       21:20                     22:9
       24:11                    24:24
        25:1                    25:13
       25:20                     26:5
       26:18                    26:24
        27:1                     27:5
       27:20                     28:4
        32:4                    32:13
       38:15                    38:24
        39:9                    39:14
        44:2                     44:4
        45:2                    46:18
   51:21 (starting               52:3
    with “And”)
       54:16                     56:2
        57:9                     58:4
        60:1                    61:21
       63:14                    65:20
        70:1                70:18 (ending
                             with “time”)




                                                            1
